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−−Case Participants: Seth A. Hancock (USA) (caseview.ecf@usdoj.gov,
seth.hancock@usdoj.gov, tammie.dodds@usdoj.gov, usakyw.assetfor@usdoj.gov,
usakyw.ecfcriminal@usdoj.gov, usakyw.vwu@usdoj.gov), Magistrate Judge Lanny King
(chad_e_edwards@kywd.uscourts.gov, lanny_king@kywd.uscourts.gov,
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                                           U.S. District Court

                                     Western District of Kentucky

Notice of Electronic Filing


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Case Number:     5:21−mj−00015−LLK
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Document Number: No document attached
Docket Text:
Arrest (Rule 5) of Clayton Ray Mullins. (MNM)


5:21−mj−00015−LLK−1 Notice has been electronically mailed to:

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                                   Case Assignment
                            Standard Magistrate Assignment

                              Case number 5:21MJ-15

                              Note: Judge determined by charging documentation.


                                                               Assigned on 2/24/2021 10:27:56 AM
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                                                   1:21-mj-00233
                                                          Assigned to: Judge Meriweather, Robin M
                                                          Assign Date: 2/13/2021
                                                          Description: COMPLAINT W/ARREST WARRANT

                                   STATEMENT OF FACTS

        I, Valyncia Joachim, am a Special Agent with the Federal Bureau oflnvestigation. I have
been in this position since Octoberof2014. I am currently assigned to the Washington Field Office,
tasked with investigating criminal activity in and around the United States Capitol grounds. Since
I became involved in this investigation on January 6, 2021, I have conducted interviews, reviewed
public tips, reviewed publicly available photos and video, and reviewed relevant documents,
among other things.

                                           Background

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police (USCP). Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S: Capitol Police. Only authorized people with appropriate identification are allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately I :00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building (USCB), and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p:m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to-and did-evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.




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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations oflocal and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                            Assault of Officer A. W. at the US. Capitol

         On January 6, 2021, during the above-referenced events, Officer A.W. (A.W.) of the
Washington D.C. Metropolitan Police Department (MPD) was working an evening shift in his
official capacity. During that shift, A.W. was directed to report to the USCB to assist the USCP in
their duties to maintain security of the USCB.

       Between 4:00 p.m. and 5:00 p.m., A.W. walked through the interior tunnel of the USCB
and assumed a post in an archway that provided access to the building's lower west terrace. The
approximate location of A.W. is denoted below by the red circle.




        On or about January 12, 2021, A.W. was interviewed by MPD as part of an investigation
into assaults of officer occurring at the U.S. Capitol on January 6, 2021. During the interview,
A. W. advised that after he was pulled into the crowd, he was kicked, struck with poles, and
stomped on by several individuals. Additionally, Officer A.W. recalled having his helmet ripped
off his head and being stripped of his CDU baton, gas mask (later recovered), and MPD issued
cellular phone. A.W. was also maced once his mask was ripped off. At some point during the
assault, A. W. was able to retrieve his gas mask and one individual, prevented the rioters from
further assaulting A. W ., allowed him to get on his feet and head back to the tunnel area. Once
A.W. was back in the tunnel, another officer realized A.W. was bleeding from his head. A.W. was
subsequently escorted to the east side of the USCB before being taken to the hospital. At the
hospital, A.W. was treated for a laceration on his head which required two staples to close. A.W.
also sustained a bruise to his right elbow.

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                                    Video Footage ofAssault ofA. W

        Prior to investigating the assault of A.W., FBI investigators were already investigating the
assault of fellow MPD Officer B.M. ("B.M"). Minutes before A.W. was pulled into the crowd of
rioters, B.M. was also assaulted at the USCB lower west terrace tunnel entrance. As FBI
investigators analyzed social media content related to the assault of B.M. and other MPD officers,
investigators discovered video footage and photographs of an individual, subsequently identified
as Clayton Ray Mullins ("MULLINS"), participating in the assault of A.W. In the footage,
MULLINS was observed wearing a dark colored jacket, black gloves and light blue jean pants.

         Numerous videos and photographs of MULLINS assaulting A.W. were posted on Twitter,
primarily under the hashtag #seditionhunters. In addition, the hashtag #slickback began trending
in relation MULLINS and the slicked back style in which he wore his hair.

                       ffideuon.s Wngcl @End_Silence_Now · Jan 18
                       Replyi ng to '.G)errorerror-1g;; ~4 @,\ 1lamaGaylor and 8 other,;
                       ¢.'seditionhunters #slic kback
                       @Sediticnt.Junters




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                       Source URL: https://twitter.com/End_Silence_Now/status/l 351254542873 I 45344?s=20



        Videos documenting MULLINS' assault of A. W. were also posted on YouTube. One
YouTube video shows MULLINS leaning over a handrail making multiple attempts to grab A.W. 's
leg. Once MULLINS successfully secured his grip on A.W.'s right foot, he began violently pulling
on it, ultimately leading to A.W. being dragged down the stairs at the USCB lower west terrace
tunnel entrance.




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                                          Source URL: https://youtu .be/aEGthdTzedk



         Similar footage was observed on the body worn camera (BWC) footage of multiple MPD
 officers. In reviewing the BWC video footage of MPD Officer C.M., your affiant observed the
 image below of A.W. wearing a full MPD-issued uniform and neon jacket as MULLINS grabbed
 his leg. In the video, at least one other officer makes multiple attempts to pull A.W. away from
 MULLINS, essentially engaging in a battle of tug of war. 1




1
    This image was redacted in part because Rosanne Boy land's body is visible.

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        Your affiant also reviewed the BWC of MPD Officer D.P., and observed the following
 image of MULLINS a seconds later, as he continued to pull the leg of A.W.




                                       Source: MPD Officer D.P. BWC video footage


       On or about January 28, 2021, a clearer picture of MULLINS, with A.W.'s leg within his
grip, was posted on Twitter with the user citing "NYT" as his source.




                       Source URL: https://twitter.com/sheldonchang/status/1355014884732375041 ?s=20




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                                         Identification ofMullins

         On or about January 25, 2021, a lead directed your Affiant to a Kentucky driver's license
 for Clayton Ray Mullins. Based upon the biographical data from MULLINS' driver' s license, a
 financial account was identified for MULLINS at FNB Bank, Inc. (FNB). On or about February
 5, 2021, investigators interviewed an FNB employee (W-1) who has an approximate 30-year
 banking relationship with MULLINS. W-1 was shown the unmarked photograph below, which
 captured MULLINS at the lower west terrace of the USCB on January 6, 2021.




                       Source URL: https://twitter.com/SimonWGhost/status/1349959991889805312


     W-1 identified the individual in the photograph as Clayton Mullins. W-1 also advised
MULLINS was in the FNB bank lobby the day before, on February 4, 2021.

       After speaking with W-1, your affiant obtained surveillance video footage from FNB. The
footage depicted MULLINS standing at a teller station in the lobby of FNB on February 4, 2021.
On or about February 11, 2021, W-1 was shown the below image of MULLINS taken from the
FNB surveillance video. W-1 identified the individual in the photograph as Clayton Mullins.




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                      · Source: FNB Bank, Inc. security surveillance footage from February 4, 2021


        Based on the foregoing, your affiant submits that there is probable cause to believe that
MULLINS violated 18 U.S.C. § 1 ll(a)(l), which makes it a crime to forcibly assault or interfere
with any person designated in section 1114 of this title 18 while engaged in or on account of the
performance of official duties. Persons designated within section 1114 include any person
assisting an officer or employee of the United States in the performance of their official duties.

         Your affiant submits there is also probable cause to believe that MULLINS violated 18
U.S.C. 231 (a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

         Your affiant submits there is also probable cause to believe that MULLINS violated 18
U.S.C. § 1752(a)(l), (2), and (4), which make it a crime, with respect to subdivision (1), to
knowingly enter or remain in any restricted building or grounds without lawful authority to do so;
with respect to subdivision (2) to knowingly, and with intent to impede or disrupt the orderly
conduct of Government business or official functions, engage in disorderly or disruptive conduct
in, or within such proximity to, any restricted building or grounds when, or so that, such conduct,
in fact, impedes or disrupts the orderly conduct of Government business or official functions; and
with respect to subdivision (4) to knowingly engage in any act of physical violence against any
person or property in any restricted building or grounds; or attempt or conspire to do so. For

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 purposes of Section 1752 of Title 18, a restricted building includes a posted, cordoned off, or
 otherwise restricted area of a building or grounds where the President or other person protected by
 the Secret Service is or will be temporarily visiting; or any building or grounds so restricted in
 conjunction with an event designated .as a special event of national significance.

         Finally, your affiant submits there is probable cause to believe that MULLINS violated 40
 U .S.C. § 5104( e)(2)(F), which makes it a crime to willfully and knowingly engage in an act of
 physical violence in the Grounds or any of the Capitol Buildings.

      As such, your affiant respectfully requests that the court issue an arrest warrant for
 MULLINS. The statements above are true and accurate to the best of my knowledge and belief.



                                                      Respectfully Submitted,




                                                      Valyn~oachim
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 13 th day of February 2021.




                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE




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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                      AT PADUCAH

 UNITED STATES OF AMERICA

                                                    CASE NO. 5:21-MJ-00015-LLK
 vs.


 CLAYTON RAY MULLINS


       MEMORANDUM IN SUPPORT OF GOVERNMENT’S MOTION FOR PRETRIAL
                               DETENTION
                            -Electronically Filed-

         The United States of America, by and through counsel, the Acting United States Attorney for

the Western District of Kentucky, respectfully submits this memorandum in support of its motion

that the defendant, Clayton Ray Mullins, be detained pending trial pursuant to 18 U.S.C. §§ 3142(e)

and (f)(2). The Court should order the defendant detained pursuant to 18 U.S.C. § 3142(e) because

there are no conditions or combination of conditions which will reasonably assure the appearance of

the defendant as required and ensure the safety of any other person and the community.

          The government respectfully requests that the following points and authorities, as well as

 any other facts, arguments and authorities presented at the detention hearing, be considered in the

 Court’s determination regarding pre-trial detention.

                                        Factual Background

       1. The Attack on the United States Capitol on January 6, 2021.

          The United States Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

 around the U.S. Capitol include permanent and temporary security barriers and posts manned by

 U.S. Capitol Police. Only authorized individuals with appropriate identification are allowed access




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inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

       On January 6, 2021, a joint session of the United States Congress convened at the U.S.

Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected

members of the United States House of Representatives and the United States Senate were meeting

in separate chambers of the U.S. Capitol to certify the vote count of the Electoral College for the

2020 Presidential Election, which had taken place on November 3, 2020. The joint session began

at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate

adjourned to separate chambers to resolve a particular objection. Vice President Michael Pence,

who is also the President of the Senate, was present and presiding, first in the joint session, and

then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President

Michael Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior of

the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd

away from the U.S. Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and

windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police

attempted to maintain order and keep the crowd from entering the U.S. Capitol; however, shortly

after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking

windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.


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          At approximately 2:20 p.m., members of the United States House of Representatives and

 United States Senate, and Vice President Michael Pence, were instructed to—and did—evacuate

 the chambers. Accordingly, the joint session of the United States Congress was effectively

 suspended until shortly after 8:00 p.m. Vice President Pence remained in the U.S. Capitol from

 the time he was evacuated from the Senate Chamber until the sessions resumed.

          During the course of the violent protests, several individuals were armed with weapons

 including bats, pepper spray, sticks, zip ties, as well as bulletproof vests and anti-tear gas masks.

 During the course of the violent protest, several law enforcement officers were assaulted and

 injured by these violent protesters while attempting to protect the U.S. Capitol and the

 individuals inside of the building. These assaults occurred both inside of the Capitol, as well as

 on the steps outside of the Capitol and the grounds of the Capitol. The defendant, as detailed

 below, is charged with two instances of assault, as well as other criminal violations.

     2. Clayton Mullins’ Criminal Conduct

          a. Assault on Law Enforcement Officer at Senate Wing Entrance

          Between 4:00 p.m. and 5:00 p.m., officer A.W. walked through the interior tunnel of the

United States Capital Building (“USCB”) and assumed a post in an archway that provided access

to the building’s lower west terrace. The approximate location of A.W. is denoted by the red

circle.




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         Around 2:00 p.m., a large crowd of violent protestors overran uniformed officers who

were attempting to secure a perimeter around the USCB. Some of the protestors were using

pepper spray on the officers in an attempt to get past a barricade. A Twitter user posted a video

of the mob rushing the officers and spraying them with pepper spray. Mullins can be seen

advancing on the barricade, attempting to push past the permitter. He appears to have been

inadvertently sprayed with pepper spray by another protestor causing him to pause. Shortly

thereafter, officers were forced to retreat up the stairs of the USCB to attempt to secure the building

from the violent advance.

         At approximately 4:27 p.m., the violent protestors began assaulting police officers who

had positioned themselves in the archway overlooking the west terrace of the USCB. Officer

A.W. had his helmet ripped off by another rioter, Jeffrey Sabol. Officer A.W. was knocked to the

ground and his baton was ripped from his hands. Officer B.M., who was in close proximity to

officer A.W., was drug into the crowd and over the top of officer A.W. Officer B.M. was drug



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down the steps and assaulted with flag poles and a baton. The beating of officer B.M. was

captured and posted by various national media outlets and Twitter users. Another officer, Officer

C.M. was pummeled by violent protestors as he tried to secure the archway and his fellow officers.



        Officer A.W. was subsequently pulled into the crowd. Video and still images posted to

national media outlets and individual social media accounts show Mullins reaching over a railing

and violently pulling officer A.W.’s leg, dragging him towards the crowd of violent protestors who

were already assaulting officer B.M. Officer C.M.’s body camera captures officers attempting to

free Officer A.W. from Mullins’ grip.




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        Officer A.W. recalled being pulled into the crowd where he was struck with poles and

batons. He also recalls that his gas mask was ripped off and he was ‘maced.’ At some point


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during the assault, Officer A.W. was assisted by a protestor and helped back to his feet where he

was able to make it to the tunnel. Officer A.W. suffered a laceration to his head that required 2

staples to close. He also suffered a bruised elbow in the assault.

        As can be clearly observed, the defendant is part of a mob of individuals attacking law

enforcement officers who were trying to prevent the unruly crowd from entering the U.S. Capitol,

which was closed to the public that day. United States Capitol Police officers are designated as

officers of the United States under 18 U.S.C. 1114. Mullins can clearly be observed wearing a

dark colored jacket, black gloves, and light blue jeans. His hairstyle and face are clearly visible

in the images and videos that captured his criminal conduct.

     3. Procedural History

        On February 13, 2021, Mullins was charged by complaint with

               1) Assaulting, Resisting, or Impeding Certain Officers, in violation of 18 U.S.C. §

                   111(a)(1);

               2) Obstruction of Law Enforcement During Civil Disorder, in violation of 18

                   U.S.C. § 231(a)(3);

               3) Knowingly Entering or Remaining in any Restricted Building or Grounds

                   Without Lawful Authority, in violation of 18 U.S.C. 1752(a)(1);

               4) Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in

                   violation of 18 U.S.C. § 1752(a)(2);

               5) Engaging in Physical Violence in a Restricted Building or Grounds, in violation

                   of 18 U.S.C. 1752(a)(4); and

               6) Violent Entry and Disorderly Conduct on Capitol Grounds, in violation of 40

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                   U.S.C. § 5104(e)(2)(F).

         On February 25, 2021, at the defendant’s initial appearance, the government orally moved

for the defendant’s detention pending trial. The Court set this matter for a detention hearing on

Friday, February 26, 2021, at 2:30 p.m.

                                           ARGUMENT

         There are four factors under § 3142(g) that the Court should consider and weigh in

 determining whether to detain a defendant pending trial: (1) the nature and circumstances of the

 offense charged; (2) the weight of the evidence against the defendant; (3) his history and

 characteristics; and (4) the nature and seriousness of the danger to any person or the community

 that would be posed by his release. See 18 U.S.C. §3142(g). In consideration of these factors,

 the government respectfully submits that there are no conditions or combinations of conditions

 which can effectively ensure the safety of any other person and the community.

                      Nature and Circumstances of the Offenses Charged

         During the course of the January 6, 2021, siege of the U.S. Capitol, multiple law

enforcement officers were assaulted by an enormous mob, which included numerous individuals

with weapons, bulletproof vests, and pepper spray who were targeting the officers protecting the

Capitol. Additionally, the violent crowd encouraged others in the crowd to work together to

overwhelm law enforcement and gain unlawful entry into the U.S. Capitol.

         What is extremely troubling about the defendant’s conduct is both the severity of his

actions and the escalation of his violent assaults. As noted above, shortly after 2:00 p.m. on January

6, 2021, the defendant joined a large mob that substantially outnumbered law enforcement at a


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perimeter set up on the Capitol grounds. The defendant participated in overrunning officers who

were forced to retreat up the Capitol steps. The defendant then pushed forward and approximately

2 and a half hours later he ended up with a group of people that physically attacked law

enforcement in an effort to gain entry to the building. The law enforcement officers were in full

uniform with the word “police” clearly visible. At approximately 4:27 p.m., the defendant is

observed physically grabbing a law enforcement officer and pulling him towards the violent mob

where another officer was already being attacked. The defendant engaged in a ‘tug of war’ with

the officer’s leg, with other officers who were trying to rescue him.    The officer was eventually

dragged down the stairs where his mask was ripped off, he was maced, and assaulted with poles.

The assault on the officer resulted in a head injury that required staples to close. The defendant’s

assaultive behavior allowed the violent mob to assault this particular officer and others. Further,

his behavior in part allowed the large mob of individuals to successfully breach the U.S. Capitol,

putting additional law enforcement officers and members and staff of Congress at grave risk. The

defendant’s actions allowed other rioters to commit multiple other criminal acts inside the

building.

         The defendant’s actions were violent, criminal, and represented a further dangerous

escalation aimed at allowing other violent rioters to unlawfully enter the U.S. Capitol. Because

of his direct actions, an officer was injured and had to seek medical treatment for his injuries.

                            Weight of the Evidence Against the Defendants

         The second factor to be considered, the weight of the evidence, also clearly weighs in

 favor of detention. The evidence against the defendant is also quite strong and compelling. As

 noted above, the defendant was observed on police body worn cameras participating in the


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 attack of law enforcement officers. Additionally, social media videos capture the defendant

 attempting to drag the officer into the violent mob. The evidence against this defendant is

 overwhelmingly strong, and accordingly, the weight of the evidence weighs heavily in favor of

 detention.

                               Defendants’ History and Characteristics

       The government recognizes that the defendant does not have any adult convictions, other

than an astonishing driving record. However, the defendant’s actions, as demonstrated by his

apparent willingness to engage in the assaultive behavior as part of a violent mob and specifically

target law enforcement officers should give this Court great concern about the danger he would

pose to the community, if released.

                              Danger to the Community and Flight Risk

        The fourth factor, the nature and seriousness of the danger to any person or the

 community posed by a defendant’s release, also weighs in favor of the defendant’s detention.

 The charged offenses involve assaultive conduct aimed to stop the functioning of the United

 States government, specifically to derail the certification of the electoral process, a cornerstone

 of our democracy. The danger the defendant caused by assisting the violent mob cannot be

 understated. The defendant was a spoke in the wheel that caused the historic events of January

 6, 2021, and he is thus a danger to our society and a threat to the peaceful functioning of our

 community.

        Given the above assessment of all four relevant factors, no condition, or combination of

 conditions, can ensure that the defendant will comply with court orders and abide by appropriate

 release conditions.


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                                             CONCLUSION

        WHEREFORE, the United States respectfully requests that the Court grant the

 government’s motion to detain the defendant pending trial.



                                              Respectfully submitted,

                                              MICHAEL A. BENNETT
                                              United States Attorney

                                              /s/ Leigh Ann Dycus
                                              Leigh Ann Dycus
                                              Assistant U.S. Attorney
                                              501 Broadway, Suite B29
                                              Paducah, Kentucky 42001
                                              270-816-3354
                                              leigh.ann.dycus@usdoj.gov


                                CERTIFICATE OF SERVICE

        I hereby certify that on February 25, 2021, I electronically filed the foregoing with the
clerk of the court by using the CM/ECF system, which will send a notice of electronic filing to
counsel for defendant.

                                              /s/ Leigh Ann Dycus
                                              Leigh Ann Dycus
                                              Assistant U.S. Attorney




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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 PADUCAH DIVISION


 UNITED STATES OF AMERICA                                                            PLAINTIFF


 VS.                                                     CASE NUMBER 5:21-MJ-00015-LLK

 CLAYTON RAY MULLINS                                                              DEFENDANT

                         NOTICE OF ATTORNEY APPEARANCE

       David Bundrick hereby enters his appearance as attorney of record on behalf of the

Defendant.



       /s/ David Bundrick
       David Bundrick
       222 Walter Jetton Boulevard
       P.O. Box 1837
       Paducah, Kentucky 42002-1837
       (270) 442-9000
       dbundrick@eandklaw.com




                                CERTIFICATE OF SERVICE
        I hereby certify that on February 26, 2020 I electronically filed the foregoing with the
clerk of court by using the ECF system, which will send a notice of electronic filing to counsel of
record.


       /s/ David Bundrick
       David Bundrick




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Case 5:21-mj-00015-LLK Document 15 Filed 03/16/21 Page 27 of 48 PageID #: 70
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MIME−Version:1.0
From:kywd−ecf−notice@kywd.uscourts.gov
To:kywd−ecf−notice@kywd.uscourts.gov
Bcc:
−−Case Participants: David T. Bundrick (dave@bundrick.com, dbundrick@edwardsandkautz.com),
Leigh Ann Dycus (caseview.ecf@usdoj.gov, leigh.ann.dycus@usdoj.gov,
tammie.dodds@usdoj.gov, usakyw.assetfor@usdoj.gov, usakyw.ecfcriminal@usdoj.gov,
usakyw.vwu@usdoj.gov), Seth A. Hancock (USA) (caseview.ecf@usdoj.gov,
seth.hancock@usdoj.gov, tammie.dodds@usdoj.gov, usakyw.assetfor@usdoj.gov,
usakyw.ecfcriminal@usdoj.gov, usakyw.vwu@usdoj.gov), Magistrate Judge Lanny King
(chad_e_edwards@kywd.uscourts.gov, lanny_king@kywd.uscourts.gov,
mary_butler@kywd.uscourts.gov, sam_halter@kywd.uscourts.gov)
−−Non Case Participants:
−−No Notice Sent:

Message−Id:3844859@kywd.uscourts.gov
Subject:Activity in Case 5:21−mj−00015−LLK USA v. Mullins Initial Appearance − Rule
5(c)(3)
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                                           U.S. District Court

                                     Western District of Kentucky

Notice of Electronic Filing


The following transaction was entered on 2/26/2021 at 6:46 PM EST and filed on 2/25/2021

Case Name:       USA v. Mullins
Case Number:     5:21−mj−00015−LLK
Filer:
Document Number: No document attached
Docket Text:
 Proceedings held before Magistrate Judge Lanny King: Initial Appearance in Rule 5(c)(3)
Proceedings as to Clayton Ray Mullins was held on 2/25/2021. (P:0/15) (Digitally Recorded)
(MHB)


5:21−mj−00015−LLK−1 Notice has been electronically mailed to:

David T. Bundrick   dbundrick@edwardsandkautz.com, dave@bundrick.com

Seth A. Hancock (USA) seth.hancock@usdoj.gov, CaseView.ECF@usdoj.gov, tammie.dodds@usdoj.gov,
usakyw.assetfor@usdoj.gov, usakyw.ecfcriminal@usdoj.gov, usakyw.vwu@usdoj.gov

Leigh Ann Dycus Leigh.Ann.Dycus@usdoj.gov, CaseView.ECF@usdoj.gov, Tammie.Dodds@usdoj.gov,
usakyw.assetfor@usdoj.gov, usakyw.ecfcriminal@usdoj.gov, usakyw.vwu@usdoj.gov

5:21−mj−00015−LLK−1 Notice will not be electronically mailed to.:




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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF KENTUCKY
                            PADUCAH DIVISION

              CRIMINAL CASE NUMBER: 5:21MJ-00015-LLK

UNITED STATES OF AMERICA                                             PLAINTIFF

v.

CLAYTON RAY MULLINS                                                  DEFENDANT


                      ORDER ON INITIAL APPEARANCE

      The above-styled case came before the Honorable Lanny King, United

States Magistrate Judge and was called in open court on February 25, 2021, for an

initial appearance on a Criminal Complaint out of the District of Columbia. The

case number assigned to this case in the District of Columbia is 1:21-mj-00233.

      The defendant, Clayton Ray Mullins, was present, in custody, of the United

States Marshal. The Honorable David T. Bundrick, retained counsel, was present

and appeared in court with the defendant. The United States was represented by

Assistant United States Attorney Seth A. Hancock. The proceedings were

digitally recorded.

      The defendant was advised of his Constitutional Rights pursuant to Rules 5

and 20 of the Federal Rules of Criminal Procedure, including his right to court

appointed counsel. The Court noted on the record that appointed counsel would be

waived at this time, but explained to the defendant, that he could request court

appointed counsel at a later date, if he found that he financially could not afford

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private counsel. The defendant acknowledged that he understood those rights as

explained to him. The Court asked the defendant and his counsel if they had

received a copy of the Criminal Complaint and defense counsel confirmed receipt.

The Court advised the defendant of the nature of the offenses with which he is

charged and the minimum and maximum penalties provided by law.

      Pursuant to the Due Process Protections Act, the Court confirms the United

States’ obligation to produce all exculpatory evidence to the defendant pursuant to

Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so.

Failing to do so in a timely manner may result in consequences, including, but not

limited to, exclusion of evidence, adverse jury instructions, dismissal of charges,

contempt proceedings, or sanctions by the Court.

      The Court advised the defendant, through counsel, that he was entitled to an

identity hearing, preliminary hearing, detention hearing, and production of the

warrant and warrant application.

      The United States moved for the defendant’s detention pursuant to 18 U.S.C.

§ 3142. The United States stated on the record that they could be prepared to go

forward with the detention hearing on Friday, however they needed additional time

to prepare for the identity hearing and preliminary hearing.

      IT IS HEREBY ORDERED that the detention hearing be scheduled for

Friday, February 26, 2021 at 2:30 p.m. Central Time before Magistrate Judge




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Lanny King in the Second Floor Courtroom at the United States District Court in

Paducah, Kentucky. The identity hearing and preliminary hearing will be

scheduled upon completion of the detention hearing. Pretrial Service Reports shall

be made available to Defense Counsel and the Government exclusively for the

purpose of bail determination. The Pretrial Report is not public record, is not to be

reproduced or disclosed to any other person and shall remain confidential as

provided in Title 18 U.S.C. 3153(c)(1).

       The defendant is remanded to the custody of the United States Marshal

Service pending further proceedings in this matter.

       February 26, 2021




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MIME−Version:1.0
From:kywd−ecf−notice@kywd.uscourts.gov
To:kywd−ecf−notice@kywd.uscourts.gov
Bcc:
−−Case Participants: David T. Bundrick (dave@bundrick.com, dbundrick@edwardsandkautz.com),
Leigh Ann Dycus (caseview.ecf@usdoj.gov, leigh.ann.dycus@usdoj.gov,
tammie.dodds@usdoj.gov, usakyw.assetfor@usdoj.gov, usakyw.ecfcriminal@usdoj.gov,
usakyw.vwu@usdoj.gov), Seth A. Hancock (USA) (caseview.ecf@usdoj.gov,
seth.hancock@usdoj.gov, tammie.dodds@usdoj.gov, usakyw.assetfor@usdoj.gov,
usakyw.ecfcriminal@usdoj.gov, usakyw.vwu@usdoj.gov), Magistrate Judge Lanny King
(chad_e_edwards@kywd.uscourts.gov, lanny_king@kywd.uscourts.gov,
mary_butler@kywd.uscourts.gov, sam_halter@kywd.uscourts.gov)
−−Non Case Participants:
−−No Notice Sent:

Message−Id:3844879@kywd.uscourts.gov
Subject:Activity in Case 5:21−mj−00015−LLK USA v. Mullins Detention Hearing
Content−Type: text/html

                                           U.S. District Court

                                     Western District of Kentucky

Notice of Electronic Filing


The following transaction was entered on 2/26/2021 at 6:57 PM EST and filed on 2/26/2021

Case Name:       USA v. Mullins
Case Number:     5:21−mj−00015−LLK
Filer:
Document Number: No document attached
Docket Text:
Proceedings held before Magistrate Judge Lanny King: Detention Hearing as to Clayton Ray
Mullins was held on 2/26/2021. (P:1/27) (Court Reporter Terri Turner.) (MHB)


5:21−mj−00015−LLK−1 Notice has been electronically mailed to:

David T. Bundrick   dbundrick@edwardsandkautz.com, dave@bundrick.com

Seth A. Hancock (USA) seth.hancock@usdoj.gov, CaseView.ECF@usdoj.gov, tammie.dodds@usdoj.gov,
usakyw.assetfor@usdoj.gov, usakyw.ecfcriminal@usdoj.gov, usakyw.vwu@usdoj.gov

Leigh Ann Dycus Leigh.Ann.Dycus@usdoj.gov, CaseView.ECF@usdoj.gov, Tammie.Dodds@usdoj.gov,
usakyw.assetfor@usdoj.gov, usakyw.ecfcriminal@usdoj.gov, usakyw.vwu@usdoj.gov

5:21−mj−00015−LLK−1 Notice will not be electronically mailed to.:




                                                                                                31
Case 5:21-mj-00015-LLK Document 15 Filed 03/16/21 Page 32 of 48 PageID #: 75
   Case  5:21-mj-15
       Case           NEF for Docket
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MIME−Version:1.0
From:kywd−ecf−notice@kywd.uscourts.gov
To:kywd−ecf−notice@kywd.uscourts.gov
Bcc:
−−Case Participants: David T. Bundrick (dave@bundrick.com, dbundrick@edwardsandkautz.com),
Leigh Ann Dycus (caseview.ecf@usdoj.gov, leigh.ann.dycus@usdoj.gov,
tammie.dodds@usdoj.gov, usakyw.assetfor@usdoj.gov, usakyw.ecfcriminal@usdoj.gov,
usakyw.vwu@usdoj.gov), Seth A. Hancock (USA) (caseview.ecf@usdoj.gov,
seth.hancock@usdoj.gov, tammie.dodds@usdoj.gov, usakyw.assetfor@usdoj.gov,
usakyw.ecfcriminal@usdoj.gov, usakyw.vwu@usdoj.gov), Magistrate Judge Lanny King
(chad_e_edwards@kywd.uscourts.gov, lanny_king@kywd.uscourts.gov,
mary_butler@kywd.uscourts.gov, sam_halter@kywd.uscourts.gov)
−−Non Case Participants:
−−No Notice Sent:

Message−Id:3844899@kywd.uscourts.gov
Subject:Activity in Case 5:21−mj−00015−LLK USA v. Mullins Order
Content−Type: text/html

                                            U.S. District Court

                                      Western District of Kentucky

Notice of Electronic Filing


The following transaction was entered on 2/26/2021 at 7:02 PM EST and filed on 2/26/2021

Case Name:       USA v. Mullins
Case Number:     5:21−mj−00015−LLK
Filer:
Document Number: 7(No document attached)
Docket Text:
 TEXT ORDER by Magistrate Judge Lanny King on 02/26/2021 as to Clayton Ray Mullins. For
the reasons stated on the record, the Court DENIES the United States' motion to detain. On
motion of the United States, this Order is hereby STAYED through MARCH 2, 2021.

       This Notice of Electronic Filing is the Official ORDER for this entry. No document is attached.

(cc: counsel) (MHB)
5:21−mj−00015−LLK−1 Notice has been electronically mailed to:

David T. Bundrick    dbundrick@edwardsandkautz.com, dave@bundrick.com

Seth A. Hancock (USA) seth.hancock@usdoj.gov, CaseView.ECF@usdoj.gov, tammie.dodds@usdoj.gov,
usakyw.assetfor@usdoj.gov, usakyw.ecfcriminal@usdoj.gov, usakyw.vwu@usdoj.gov

Leigh Ann Dycus Leigh.Ann.Dycus@usdoj.gov, CaseView.ECF@usdoj.gov, Tammie.Dodds@usdoj.gov,
usakyw.assetfor@usdoj.gov, usakyw.ecfcriminal@usdoj.gov, usakyw.vwu@usdoj.gov

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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF KENTUCKY
                          PADUCAH DIVISION

             CRIMINAL ACTION NUMBER: 5:21MJ-00015-LLK

UNITED STATES OF AMERICA                                      PLAINTIFF

v.

CLAYTON RAY MULLINS                                          DEFENDANT


                     ORDER ON DETENTION HEARING

      The above-styled case came before the Honorable Lanny King, United

States Magistrate Judge and was called in open court on February 26, 2021, for the

purpose of conducting an identity hearing and detention hearing in Paducah,

Kentucky.

      The defendant, Clayton Ray Mullins, was present, in custody, and

represented by the Honorable David T. Bundrick. Assistant United States Attorney

Leigh Ann Dycus appeared on behalf of the United States. The proceedings were

transcribed by Terri Turner, Official Court Reporter.

      Prior to the commencement of the hearings, the defendant through counsel,

waived his right to an identity hearing.

      During the scheduled detention hearing, counsel for the United States

proffered evidence from her Memorandum in Support of Government’s Motion for

Pretrial Detention (DN #4) that was previously filed with the Court on February



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25, 2021; and she posed questions to the defendant’s first witness, Mrs. Mullins.

The defendant’s counsel proffered evidence and called two witnesses to testify on

behalf of the defendant: 1) Nancy R. Mullins, defendant’s wife and 2) Joey

Rogers, family friend.

      The Court having heard evidence presented by both parties and for reasons

stated on the record, the Court found a set of conditions of release to exist which

will assure the defendant’s appearance in Court and the safety of the community.

      IT IS HEREBY ORDERED the defendant be released on a $100,000

Unsecured Appearance Bond with an Order Setting Conditions of Release.

      The United States orally requested a motion to stay the release of the

defendant until the United States Attorney in the District of Columbia files an

anticipated Motion for Emergency Stay and Appeal of the Release Order. The

Court GRANTED the United States motion and the defendant’s release is stayed

through March 2, 2021 as referenced in the Text Order (DN #7).

      IT IS HEREBY ORDERED that the defendant remain in custody of the

United States Marshal pending further orders of this Court.
      March 2, 2021




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P:D/HRG-1/26
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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                              PADUCAH DIVISION

                     CRIMINAL CASE NUMBER: 5:21MJ-00015-LLK

UNITED STATES OF AMERICA                                            PLAINTIFF

v.

CLAYTON RAY MULLINS                                                 DEFENDANT


                                      ORDER

         Pursuant to the Order entered by Chief Judge Beryl A. Howell on March 1,

2021 at the United States District Court in the District of Columbia, the

Appearance Bond and Order Setting Conditions of Release entered by this Court

shall be stayed pending ruling of the detention decision by the Court in the District

of Columbia.

         IT IS HEREBY ORDERED that the defendant’s release is stayed

indefinitely until a ruling has been made on the appeal of release order by the

Court in the District of Columbia. The Clerk’s Office shall file the Order (DN #9)

entered in their case, Case Number 1:21-mj-00233-RMM, as an attachment to this

order.

     March 2, 2021




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            Case 1:21-mj-00233-RMM Document 9 Filed 03/01/21              Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA

                         V.                              Case No. 2 l-mj-233 (RMM)

  CLAYTON RAY MULLINS,                                   Chief Judge Beryl A. Howell

                         Defendant.




                                            ORDER

          Upon consideration of the Government's Motion for Emergency Stay and for Review and

 Appeal of Release Order, ECF No. 6, as to defendant Clayton Ray Mullins, it is hereby

          ORDERED that the Motion for Emergency Stay is GRANTED and the release order

 entered by the Western District of Kentucky Magistrate Judge on February 26, 2021 as to

 defendant Clayton Ray Mullins is STAYED pending review of the detention decision by this

 Court.

          SO ORDERED.


          Date: March I, 2021

                                                    BERYL A. HOWELL
                                                    Chief Judge




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AO 98 (Rev. 12/11) Appearance Bond


                                                                                               -               FILED
                                     UNITED STATES DISTRICT Cou~'N!Es J. v1LT, JR. -CLERK
                                                                     for the
                                                     Western District of Kentucky
                                                                                                                   MAR 03 2021
                   United State_s of America                             )                                 U.S. DISTRICT COURT
                              V.                                         )                                WEST'N. DIST. KENTUCKY
                                                                         )       Case No.       5:21MJ-00015-LLK
                  CLAYTON RAY MULLINS                                    )
                             Defendant                                   )

                                                          APPEARANCE BOND

                                                          Defendant's Agreement
I,          CLAYTON RAY MULLINS                                 (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
             ( X )       to appear for court proceedings;
             ( X )       if convicted, to surrender to serve a sentence that the court may impose; or
              ( J< )     to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                                Type of Bond
(    ) (1) This is a personal recognizance bond.

(I\ ) (2) This is an unsecured bond of$ _/t)_()..,,_~~---------
     ) (3) This is a secured bond of$
(
                                               - - - - - - - - - - - , secured by:
        (     ) (a) $ - - - - - - - - , in cash deposited with the court.

        (     ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                 (describe the cash or other property, including claims on it - such as a lien, mortgage, or loan - and attach proof of
                 ownership and value):



                 If this bond is secured by real property, documents to protect the secured interest may be filed ofrecord.

        (     ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):




                                                   Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.




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AO 98 (Rev. 12/1 I) Appearance Bond



Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (I) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

                                                           Declarations

Ownership of the Property. I, the defendant - and each surety - declare under penalty of perjury that:

          (1)     . all owners of the property securing this appearance bond are included on the bond;
          (2)       the property is not subject to claims, except as described above; and
          (3)       I will not sell the property, allow further claims to be made against it, or do anything to reduce its value
                    while this appearance bond is in effect.

Acceptance. I, the defendant - and each surety - have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.




I, the defendant - and each surety - declare under penalty of perjury that this i


Date:    f~ 26


                Surety/property owner - printed name                           Surety/property owner - signature and date



                Surety/property owner- printed name                            Surety/property owner - signature and date



                Surety/property owner - printed name                           Surety/property owner - signature and date




                                                                  CLERK OF COURT


Date: '~ J   ?>{ 2QG} I

Approved.

Date:    ~If /J.cJl /
                                                                                           Judge 's signature




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AO 199A (Rev. 12/11) Order Setting Conditions of Release                                                 Page I of   _'1~- Pages

                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                           Western District of Kentucky


                    United States of America                             )
                                   V.                                    )
                                                                         )        Case No.   5:21MJ-00015-LLK
                                                                         )
             CLAYTON RAY MULLINS
                              Defendant
                                                                         )

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)   The defendant must not violate federal, state, or local law while on release.

(2)   The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3)   The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

(4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.

      The defendant must appear at:               U.S. District Court , Federal Building, 501 Broadway, Paducah, Kentucky
                                                                                          Place




      on
                                                                        Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.




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AO 199B (Rev. 12/11) Additional Conditions of Release                                                                                        Page ~    -of   j_ Pages
                                                     ADDITIONAL CONDITIONS OF RELEASE
        IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

( D) (6)    The defendant is placed in the custody of:
             Person or organization
             Address (only if above is an organization)
            City and state _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _                                 Tel. No. _ _ __ _ _ __ _ _ _ __
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian' s custody.

                                                                             Signed: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                           Custodian                                         Date
( 0)      (7) The defendant must:
        (IZI]) (a) submit to supervision by and report for supervision to the USPO Josh Rose
                                                                                  - -- - - - - - - - - - - - - -- - - -
                   telephone number             (502) 432-1862   , no later than immediately upon release
        ( D) (b) continue or actively seek employment.
        ( D) (c) continue or start an education program.
        ( D ) (d) surrender any passport to:
        ( 0) (e) not obtain a passport or other international travel document.
       (liZf)  (f) abide by the following restrictions on personal association, residence, or travel:      Western District of Kentucky except for travel to/from District of
                   Columbia for court related travel only
       ( 0 ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                   including:
       ( D ) (h) get medical or psychiatric treatment:
       ( D) (i) return to custody each _ __ _ _ at ____ o'clock after being released at _ __ __ o'clock for employment, schooling,
                   or the following purposes:
       ( D ) U) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                   necessary.
       ( 0 ) (k) not possess a firearm, destructive device, or other weapon.
       ( D) (I) not use alcohol ( D ) at all ( D ) excessively.
       ( D) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                   medical practitioner.
       ( D ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                   random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                   prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                   of prohibited substance screening or testing.
       ( D) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                   supervising officer.
       ( 0) (p) This form of location monitoring shall be utilized to monitor the following restriction on the defendant's movement in the community as
                   well as other court-imposed conditions of release.
                   ( D ) (i) Curfew. You are restricted to your residence every day from                to        or as directed by the supervising officer.
                   ( 0) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;_
                                medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                               activities as pre-approved by the supervising officer.
                   ( D ) (iii) Home Incarceration . You are restricted to your residence at all times except for medical necessities and court appearances
                               or other activities specifically approved by the Court.
       ( 0) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                   requirements and instructions provided.
                   ( 0 ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                          supervising officer.
                   ( D ) You must comply with the technology requirements and the form of Location Monitoring as indicated below.
                   ( 0 ) Location Monitoring Equipment To Be Used:
                          (0) Location monitoring technology at the discretion of the officer
                          (0) Radio Frequency (RF) Monitoring
                          (0) Active GPS Monitoring
                          (0) Voice Recognition
       ( 0 ) (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                   arrests, questioning, or traffic stops.
       ( 0 ) (s) The defendant shall contribute to the United States Probation Office's cost of services rendered based upon his/her ability to pay as
                   reflected in his/her monthly cash flow as it relates to the court-approved sliding scale fee.



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( x.) (t) Prohibited from entering any federal property unless approved in advance by the United States Probation .

    ) (u) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -



   ) (v) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




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AO 199C (Rev. 09/08) Advice of Penalties                                                                               Page      '1         .of     '1   Pages

                                           ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e. , in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, cir intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions ofrelease require, or to surrender to serve a sentence,
you may be prosecuted for f~iling to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more -you will be fined
             not more than $250,000 or imprisoned for not more than IO years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years -you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fined not more than $ I 00,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                  Acknowledgment of the Defendant

      I acknowledge that I am the defendant in this case and that I am aware of the conditions ofrelease. I promise to obey all conditions
ofrelease, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                     A---+--
                                                          ~ --------=-
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                                                                                      ~ -efend-ant
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                                                                                                       ~ - = - - = --
                                                                                                                    - -



                                                                                                   City and State



                                               Directions to the United States Marshal

( /) The defendant is ORDERED released after processing.
(    The United States marshal is ORDERED to keep the defendant in custody .until notified by the clerk or judge that the defendant
     has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
     the appropriate judge at the time and place specified.


          ?/Jh.
Date: - - ~     111
             - - --I - - - - -
                                                                                         Judicial Officer's Signature

                                                                 L.;.>""tVy   t<-'Y- ;       i:,   r,.,.. ,,,, ·1 ,..... ,~ ,.., ,4~ I<"/- c.. t2
                                                                                           Printed name and title




                    DISTRIBUTION:      COURT     DEFENDANT       PRETRIAL SERVICE          U.S . ATTORNEY               U.S. MARSHAL




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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 PADUCAH DIVISION


 UNITED STATES OF AMERICA                                                             PLAINTIFF


 VS.                                                          CASE NUMBER 5:21-MJ-15-LLK

 CLAYTON MULLINS                                                                   DEFENDANT

                                         Notice of Filing

       The Defendant, by counsel, provides notice to the United States that he has filed the

accompanying Waiver of a Preliminary Hearing.



       /s/ David Bundrick
       David Bundrick
       222 Walter Jetton Boulevard
       P.O. Box 1837
       Paducah, Kentucky 42002-1837
       (270) 442-9000
       dbundrick@edwardsandkautz.com




                               CERTIFICATE OF SERVICE
       I hereby certify that on March 8, 2021 I electronically filed the foregoing with the clerk of
court by using the ECF system, which will send a notice of electronic filing to counsel of record.


       /s/ David Bundrick
       David Bundrick




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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT PADUCAH

 UNITED STATES OF AMERICA                                                              PLAINTIFF

                                                    CASE NUMBER 5:21-MJ-00015-LLK
 VS.
                                                                  Electronically filed

 CLAYTON MULLINS                                                                    DEFENDANT



                NOTICE OF DOCKET CORRECTION REGARDING PDF

       The Defendant, by counsel, files notice of docket correction regarding docket number (DN)

11 filed on March 8, 2021, in the above captioned case. The undersigned inadvertently submitted

the incorrect waiver form.

       Counsel has attached the correct form to this notice.




       /s/ David Bundrick
       David Bundrick
       222 Walter Jetton Boulevard
       P.O. Box 1837
       Paducah, Kentucky 42002-1837
       (270) 442-9000
       dbundrick@edwardsandkautz.com




                               CERTIFICATE OF SERVICE
       I hereby certify that on March 9, 2021 I electronically filed the foregoing with the clerk of
court by using the ECF system, which will send a notice of electronic filing to counsel of record.


       /s/ David Bundrick
       David Bundrick




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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF KENTUCKY
                            PADUCAH DIVISION

                CRIMINAL CASE NUMBER: 5:21MJ-00015-LLK

UNITED STATES OF AMERICA                                         PLAINTIFF

v.

CLAYTON RAY MULLINS                                              DEFENDANT

                                    ORDER

      The defendant, through counsel, filed a waiver of the preliminary hearing

(DN #12) that was previously scheduled.

      IT IS THEREFORE ORDERED that the preliminary hearing scheduled

for Thursday, March 11, 2021 at 3:30 p.m. C.T. is hereby CANCELED.

     March 10, 2021




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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF KENTUCKY
                              PADUCAH DIVISION

                 CRIMINAL CASE NUMBER: 5:21MJ-00015-LLK

UNITED STATES OF AMERICA                                             PLAINTIFF

v.

CLAYTON RAY MULLINS                                                  DEFENDANT


                                      ORDER

      The defendant through, counsel, filed his waiver of preliminary hearing (DN

#12) with the Court on March 9, 2021.

      IT IS HEREBY ORDERED that the case in this district be closed. The

defendant shall appear for all further proceedings in this action at the United States

District Court in the District of Columbia (Case # 1:21MJ-00233) as directed.

      IT IS HEREBY ORDERED that the defendant continue to report to his

probation officer and to abide by the previously ordered bond and conditions of

release that he executed on March 2, 2021 with the United States District Court in

the District of Columbia.
       March 16, 2021




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                        U.S. District Court
              Western District of Kentucky (Paducah)
  CRIMINAL DOCKET FOR CASE #: 5:21−mj−00015−LLK All Defendants

Case title: USA v. Mullins                             Date Filed: 02/24/2021
                                                       Date Terminated: 03/16/2021

Assigned to: Magistrate Judge
Lanny King

Defendant (1)
Clayton Ray Mullins             represented by David T. Bundrick
TERMINATED: 03/16/2021                         Edwards & Kautz, PLLC
                                               P. O. Box 1837
                                               Paducah, KY 42002−0269
                                               270−442−9000
                                               Fax: 270−443−4304
                                               Email: dbundrick@edwardsandkautz.com
                                               ATTORNEY TO BE NOTICED

Pending Counts                                Disposition
None

Highest Offense Level
(Opening)
None

Terminated Counts                             Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                    Disposition
Removal from District of
Columbia



Plaintiff
USA                                      represented by Leigh Ann Dycus
                                                        U.S. Attorney Office − Paducah
                                                        501 Broadway


                                                                                         1
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                                                            Paducah, KY 42001
                                                            270−443−6188
                                                            Fax: 270−444−6794
                                                            Email: Leigh.Ann.Dycus@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                            Seth A. Hancock (USA)
                                                            U.S. Attorney Office − Paducah
                                                            501 Broadway
                                                            Paducah, KY 42001
                                                            270−442−7104
                                                            Fax: 270−444−6794
                                                            Email: seth.hancock@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Retained

 Date Filed   #   Page Docket Text
 02/24/2021          4 Arrest (Rule 5) of Clayton Ray Mullins. (MNM) (Entered: 02/25/2021)
 02/24/2021   1        Warrant Returned Executed on 2/24/2021 in case as to Clayton Ray Mullins.
                       (MNM) (Entered: 02/25/2021)
 02/24/2021   2      5 Case Assignment (Random Selection): Case Assigned to Magistrate Judge
                       Lanny King. (MNM) (Entered: 02/25/2021)
 02/24/2021   3      6 Rule 5 Documents Received from District of Columbia, Case Number
                       1:21−mj−00233, as to Clayton Ray Mullins. (MNM) (Entered: 02/25/2021)
 02/25/2021   4    15 MEMORANDUM by USA. (Dycus, Leigh Ann) (Entered: 02/25/2021)
 02/25/2021        27 Proceedings held before Magistrate Judge Lanny King: Initial Appearance in
                      Rule 5(c)(3) Proceedings as to Clayton Ray Mullins was held on 2/25/2021.
                      (P:0/15) (Digitally Recorded) (MHB) (Entered: 02/26/2021)
 02/26/2021   5    26 NOTICE OF ATTORNEY APPEARANCE: David T. Bundrick appearing for
                      Clayton Ray Mullins as local counsel (Bundrick, David) (Entered: 02/26/2021)
 02/26/2021   6    28 ORDER ON INITIAL APPEARANCE by Magistrate Judge Lanny King on
                      2/26/2021 as to Clayton Ray Mullins. The Detention Hearing is scheduled for
                      2/26/2021 at 2:30 p.m. C.T. in the Paducah Courtroom before Magistrate Judge
                      Lanny King. The defendant is remanded to the custody of the United States
                      Marshal Service pending further proceedings in this matter. (cc: counsel, USM,
                      USPO) (MHB) (Entered: 02/26/2021)
 02/26/2021        31 Proceedings held before Magistrate Judge Lanny King: Detention Hearing as to
                      Clayton Ray Mullins was held on 2/26/2021. (P:1/27) (Court Reporter Terri
                      Turner.) (MHB) (Entered: 02/26/2021)
 02/26/2021   7    32 TEXT ORDER by Magistrate Judge Lanny King on 02/26/2021 as to Clayton
                      Ray Mullins. For the reasons stated on the record, the Court DENIES the United
                      States' motion to detain. On motion of the United States, this Order is hereby
                      STAYED through MARCH 2, 2021.


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                           This Notice of Electronic Filing is the Official ORDER for this entry. No
                                                     document is attached.

                       (cc: counsel) (MHB) (Entered: 02/26/2021)
 03/02/2021    8   33 ORDER ON DETENTION HEARING signed by Magistrate Judge Lanny King
                      on 3/2/2021 as to Clayton Ray Mullins. IT IS HEREBY ORDERED the
                      defendant be released on a $100,000 Unsecured Appearance Bond with an Order
                      Setting Conditions of Release. The United States orally requested a motion to
                      stay the release of the defendant until the United States Attorney in the District
                      of Columbia files an anticipated Motion for Emergency Stay and Appeal of the
                      Release Order. The Court GRANTED the United States motion and the
                      defendant's release is stayed through 3/2/2021 as referenced in the Text Order at
                      DN 7 . IT IS HEREBY ORDERED that the defendant remain in custody of the
                      United States Marshal pending further orders of this Court. cc: Counsel (MNM)
                      (Entered: 03/02/2021)
 03/02/2021    9   35 ORDER signed by Magistrate Judge Lanny King on 3/2/2021 as to Clayton Ray
                      Mullins. IT IS HEREBY ORDERED that the defendant's release is stayed
                      indefinitely until a ruling has been made on the appeal of release order by the
                      Court in the District of Columbia. The Clerk's Office shall file the Order (DN
                      #9) entered in their case, Case Number 1:21−mj−00233−RMM, as an
                      attachment to this order. (Attachments: # 1 Docket Number 9 from
                      1:21−mj−233−RMM, District of Columbia) cc: Counsel (MNM) (Entered:
                      03/02/2021)
 03/03/2021   10   37 Unsecured Appearance Bond and Order Setting Conditions of Release Entered
                      as to Clayton Ray Mullins in amount of $100,000. (MNM) (Entered:
                      03/03/2021)
 03/08/2021   11   43 NOTICE (Attachments: # 1 Exhibit Waiver of Rule 5 and 5.1 preliminary
                      hearing) (Bundrick, David) (Attachment 1 replaced on 3/10/2021) (MNM).
                      Modified on 3/10/2021 to edit text (MNM). (Entered: 03/08/2021)
 03/09/2021   12   45 NOTICE OF DOCKET CORRECTION Re:PDF Error: incorrect document
                      attached to docket entry by efiler re: 11 Notice (Other) ; Correct document
                      attached to this entry. (Attachments: # 1 Exhibit Waiver of preliminary hearing)
                      (Bundrick, David) (Entered: 03/09/2021)
 03/10/2021   13   47 ORDER by Magistrate Judge Lanny King on 3/10/2021 as to Clayton Ray
                      Mullins: The preliminary hearing scheduled for Thursday, March 11, 2021 at
                      3:30 p.m. C.T. is hereby CANCELLED. (cc: counsel) (MHB) (Entered:
                      03/10/2021)
 03/16/2021   14   48 ORDER signed by Magistrate Judge Lanny King on 3/16/2021 as to Clayton
                      Ray Mullins. IT IS HEREBY ORDERED that the case in this district be closed.
                      The defendant shall appear for all further proceedings in this action at the United
                      States District Court in the District of Columbia (Case # 1:21MJ−00233) as
                      directed. IT IS HEREBY ORDERED that the defendant continue to report to his
                      probation officer and to abide by the previously ordered bond and conditions of
                      release that he executed on 3/2/2021 with the United States District Court in the
                      District of Columbia. cc: Counsel (MNM) (Entered: 03/16/2021)




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